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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:17-cv-01013-WYD-MEH

  DONELL BLOUNT,
  CECIL MASON,
  TERRY PHILLOPS,
  SPENCER BREWER, and
  LEROY BAKER

          Plaintiffs,
  v.

  ETHAN KELLOGG, in his individual capacity,
  DAVID SCHERBARTH, in his individual capacity,
  f/n/u QUINLAN, in his individual capacity,

          Defendants.


                                                ORDER

  Entered by Michael E. Hegarty, United States Magistrate Judge, on November 9, 2018.

      The Unopposed Motion for Order to Accommodate Settlement Conference is hereby
  GRANTED.

          ORDERED that Warden Beth Cabell and/or her representatives, of Sussex II State
  Prison, located at 24427 Musselwhite Drive, Waverly, Virginia, 23891, shall ensure Donell
  Blount, Virginia Department of Corrections # 1108428, is available to participate by telephone in
  a settlement conference in this Court on November 16, 2018, from 1:00 p.m. to as late as 7:30
  p.m. EST, pursuant to this Court’s order.

          It is FURTHER ORDERED that Warden Cabell or her representative shall:

       1. From the hours of 1:00 p.m. to 7:30 p.m. EST,

       2. Place Donell Blount in a private room with access to a telephone able to make and
          receive calls to this Court for participation in the settlement conference and to discuss
          confidential matters with his counsel,

       3. Ensure Mr. Blount’s legal materials are placed in this room and accessible to him during
          the settlement conference,
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     4. Ensure Mr. Blount is able to take bathroom breaks as needed.



                                                   BY THE COURT




                                                MICHAEL E. HEGARTY
                                                UNITED STATES MAGISTRATE JUDGE




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